Case 7:20-cv-00609-MFU-JCH Document 28 Filed 05/17/21 Page 1 of 7 Pageid#: 206
Case 7:20-cv-00609-MFU-JCH Document 28 Filed 05/17/21 Page 2 of 7 Pageid#: 207
Case 7:20-cv-00609-MFU-JCH Document 28 Filed 05/17/21 Page 3 of 7 Pageid#: 208
Case 7:20-cv-00609-MFU-JCH Document 28 Filed 05/17/21 Page 4 of 7 Pageid#: 209
Case 7:20-cv-00609-MFU-JCH Document 28 Filed 05/17/21 Page 5 of 7 Pageid#: 210
se 7:20-cv-00609-MFU-JCH Document 28 Filed 05/17/21 Page 6 of 7 Pageid#: 2
ase 7:20-cv-00609-MFU-JCH Document 28 Filed 05/17/21 Page 7 of 7 Pageid#: 21
